       Case 1:19-cv-01618-TSC       Document 1      Filed 06/03/19   Page 1 of 12




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

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----                                           :
NEXTERA ENERGY GLOBAL HOLDINGS                 :
B.V. and NEXTERA ENERGY SPAIN                  :
HOLDINGS B.V.,                                 :
                                               :
Prins Bernhardplein 200, 1097 JB Amsterdam :
The Netherlands                                : 19 Civ. ______
                                               :
                                  Petitioners, :
                                               :
                      v.                       :
                                               :
KINGDOM OF SPAIN,                              :
                                               :
Abogacia General del Estado                    :
Calle Ayala, 5                                 :
28001 – Madrid                                 :
Spain                                          :
                                               :
                                  Respondent :
                                               :
--------------------------------- x
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               PETITION TO CONFIRM INTERNATIONAL ARBITRAL
               AWARD PURSUANT TO THE 1965 ICSID CONVENTION
          Case 1:19-cv-01618-TSC        Document 1        Filed 06/03/19      Page 2 of 12




          1.     Pursuant to 22 U.S.C. § 1650a and Article 54 of the 1965 Convention on the

Settlement of Investment Disputes between States and Nationals of Other States, 575 U.N.T.S.

159 (the "ICSID Convention"), Petitioners NextEra Energy Global Holdings B.V., and NextEra

Energy Spain Holdings B.V. (collectively "NextEra" or "Petitioners") bring this action against

the Kingdom of Spain ("Respondent" or "Spain") to recognize and confirm an international

arbitral award (the "Award"), issued on May 31, 2019 in ICSID Case No. ARB/14/11, entitled

NextEra Energy Global Holdings B.V. & NextEra Energy Spain Holdings B.V. v. Kingdom of

Spain.1

          2.     The Award resulted from a full hearing, and reflected the Tribunal's prior

Decision on Jurisdiction, Liability and Quantum Principles dated March 12, 2019 rendered in the

same proceedings (the "Liability Decision"), which is attached as an annex to the Award (Nelson

Decl. Ex. 1, Annex).

          3.     Pursuant to Article 54 of the ICSID Convention and 22 U.S.C. § 1650a, arbitral

awards issued under the ICSID Convention "shall be enforced and shall be given the same full

faith and credit as if the award were a final judgment of a court of . . . one of the several States"

of the United States. 22 U.S.C. § 1650a(a). Accordingly, NextEra requests this Court: (i) enter

an order recognizing and confirming the Award, and (ii) enter judgment for NextEra in the

amounts of (a) EUR 290,600,000, plus interest at the rate of 0.234%, compounded monthly, from

June 30, 2016 to the date of judgment; (b) USD 4,279,400.67, plus interest at the rate of 0.234%,

compounded monthly, from May 31, 2019 to the date of judgment; (c) EUR 1,042,135.30, plus

interest at the rate of 0.234%, compounded monthly, from May 31, 2019 to the date of judgment;


1
          A copy of the Award appears as Exhibit 1 to the accompanying Declaration of Timothy
          G. Nelson ("Nelson Decl."). A copy of the ICSID Convention appears as Exhibit 2 to the
          Nelson Declaration.
          Case 1:19-cv-01618-TSC        Document 1       Filed 06/03/19     Page 3 of 12




and (d) post-judgment interest on all of the preceding sums at the rate applicable under 28 U.S.C.

§ 1961.

                                             PARTIES

       4.      Petitioners NextEra Energy Global Holdings B.V. and NextEra Energy Spain

Holdings B.V. are private limited liability companies incorporated under the laws of the

Netherlands. (See Liability Decision ¶ 2.)

       5.      Respondent the Kingdom of Spain is a foreign state within the meaning of the

Foreign Sovereign Immunities Act of 1976 ("FSIA"), 28 U.S.C. §§ 1330 and 1602-1611. (See

Liability Decision ¶ 3.) Spain signed the ICSID Convention on March 21, 1994, and deposited

its instrument of ratification on August 18, 1994. The ICSID Convention entered into force for

Spain on September 17, 1994.2

                                JURISDICTION AND VENUE

       6.      This Court has subject-matter jurisdiction under 22 U.S.C. § 1650a(b), which

gives "district courts of the United States . . . exclusive jurisdiction" to enforce ICSID

Convention awards.

       7.      Furthermore, this Court has subject-matter jurisdiction over this action under the

FSIA because ICSID arbitration proceedings are a "nonjury civil action against a foreign state"

on a claim against which the foreign state enjoys no immunity under the FSIA. 28 U.S.C.

§ 1330(a). Under 28 U.S.C. § 1605(a)(6), "[a] foreign state shall not be immune from the

jurisdiction of courts of the United States or of the States in any case . . . to confirm an award"

based on an agreement to arbitrate where "the agreement or award is or may be governed by a

treaty or other international agreement in force for the United States calling for the recognition

2
       See Int'l Centre for Settlement of Investment Disputes, Database of ICSID Member States
       (Nelson Decl. Ex. 4).

                                                2
       Case 1:19-cv-01618-TSC           Document 1       Filed 06/03/19     Page 4 of 12




and enforcement of arbitral awards." Id. The ICSID Convention is such a treaty in force in the

United States for the recognition and enforcement arbitral awards. See Blue Ridge Invs., L.L.C. v.

Republic of Arg., 735 F.3d 72, 85 (2d Cir. 2013) ("To our knowledge, every court to consider

whether awards issued pursuant to the ICSID Convention fall within the arbitral award exception

to [foreign sovereign immunity under] the FSIA has concluded that they do.").

       8.      Moreover, Spain's accession to the ICSID Convention operates to waive

immunity from an action to recognize an award governed by the ICSID Convention. See 28

U.S.C. § 1605(a)(1) (subject matter jurisdiction exists if a "foreign state has waived its immunity

either explicitly or by implication"); see also Blue Ridge Invs., 735 F.3d at 84 (foreign countries

waive sovereign immunity under the FSIA "by becoming a party to the ICSID Convention").

       9.      Because subject-matter jurisdiction exists over Spain, personal jurisdiction also is

established. See 28 U.S.C. § 1330(b).

       10.     Venue is proper in this Court under 28 U.S.C. § 1391(f)(4), which allows civil

actions against foreign states or their political subdivisions to be brought "in the United States

District Court for the District of Columbia."

       11.     The Federal Arbitration Act, 9 U.S.C. § 1 et seq., does "not apply to enforcement

of awards rendered pursuant to the [ICSID] Convention," 22 U.S.C. § 1650a(a), so its

jurisdictional requirements play no role here. See OI European Grp. B.V. v. Bolivarian Republic

of Venez., No. 16-1533, 2019 WL 2185040 at *7-8 (D.D.C. May 21, 2019).

                                THE UNDERLYING DISPUTE

       12.     The Award arises from NextEra's investments in concentrated solar power ("CSP")

projects in Spain.




                                                3
        Case 1:19-cv-01618-TSC            Document 1     Filed 06/03/19    Page 5 of 12




       13.     In 2007, Spain enacted legislation to encourage investment in solar power projects

within its territory.      The legislation was intended to "minimise regulatory uncertainty" by

providing "transparency and predictability" regarding economic incentives in order to

"encourage[] investment in new capacity." (Liability Decision ¶ 116.) In reliance on that

legislation and explicit assurances by Spanish authorities—including "[s]tatements made in

writing to NextEra by Spanish officials"—NextEra invested in the construction, development

and operation of two Spanish CSP projects at a total cost of approximately 750 million euros.

(Id. ¶¶ 93, 97, 588(1).)

       14.     After a government transition, Spain enacted a series of laws between 2012 and

2014 that "fundamentally and radically changed" the investment regime NextEra relied on when

making its investment. Id. ¶ 599. The changes created an entirely new regulatory system by

2014, contradicting written government assurances to NextEra and going "beyond anything that

might have been reasonably expected" by NextEra when it "undertook [the] investment." Id.

NextEra suffered significant harm as a result. See id. ¶¶ 678-80 (concluding that "Claimants are

entitled to damages" and inviting further quantum claim submissions).

       15.     NextEra's solar power investments were protected by the Energy Charter Treaty

(Nelson Decl. Ex. 3 ("ECT")). The ECT "establishes a legal framework in order to promote

long-term cooperation in the energy field, based on complementarities and mutual benefits."

ECT, art. 2.

       16.     Spain is a party to the ECT and the ICSID Convention, as is NextEra's state of

incorporation, the Netherlands.3 Furthermore, NextEra is an "investor" under the ECT. (See

3
       See Int'l Energy Charter, Energy Charter Treaty: Signatories/Contracting Parties (listing
       both the Netherlands and Spain as parties) (Nelson Decl. Ex. 5); Int'l Centre for
       Settlement of Investment Disputes, Database of ICSID Member States (Nelson Decl. Ex.
       4 ("ICSID Member Database")).

                                                  4
       Case 1:19-cv-01618-TSC           Document 1       Filed 06/03/19     Page 6 of 12




Liability Decision ¶ 211 ("Claimants are companies that are organized under the law of the

Netherlands and thus are 'Investors' within the meaning of Article 1(7) of the ECT.").)

       17.     As an ECT contracting party, Spain has consented to submitting any ECT

disputes to arbitration. See ECT, art. 26(3)(a) (Contracting Parties give their "unconditional

consent to the submission of a dispute to international arbitration . . . in accordance with the

provisions of this Article").   Furthermore, ECT arbitrations can proceed under the ICSID

Convention where "the Contracting Party of the investor and the Contracting Party . . . to the

dispute" are also parties to the ICSID Convention and the investor elects arbitration under that

Convention. ECT, art. 26(4)(a)(i). Accordingly, upon becoming a party to the ECT, Spain

irrevocably consented to arbitrate disputes with investors (such as NextEra) arising thereunder

pursuant to the ICSID Convention.

       18.     On May 12, 2014, NextEra filed a Request for Arbitration against Spain, arguing

that Spain's regulatory revisions devalued NextEra's solar power investments and constituted a

violation of Articles 10(1) and 10(7) of the ECT. ICSID received the Request for Arbitration,

including its hard copy exhibits, on May 15, 2014. (Liability Decision ¶¶ 6, 180.) In the

Request for Arbitration, NextEra consented to submit its disputes to ICSID arbitration pursuant

to Article 26 of the ECT.

       19.     A three-member ICSID arbitral tribunal (the "Tribunal") was duly constituted on

January 23, 2015. (Liability Decision ¶ 10.) The Tribunal received briefing and evidence from

the parties, and conducted a hearing on all issues (including contested issues of jurisdiction,

merits and quantum) in London from December 12 to 19, 2016. (Id. ¶ 67.) NextEra and Spain

were represented by counsel, and fully participated in the hearing.




                                                5
        Case 1:19-cv-01618-TSC           Document 1       Filed 06/03/19       Page 7 of 12




       20.     On March 12, 2019, the Tribunal issued its 235-page Liability Decision (its full

title being the "Decision on Jurisdiction, Liability and Quantum Principles"), finding that Spain

breached its obligation to "provide [NextEra] fair and equitable treatment" under Article 10(1) of

the ECT by failing to protect NextEra's "legitimate expectations." (Id. ¶ 682(ii).) The Tribunal

directed that NextEra was entitled to damages quantified by reference to the capitalized costs of

the two Spanish CSP projects and a return equal to the weighted average cost of capital of the

projects plus a margin of 200 bps. (Id. ¶ 682(iii).) In light of this finding, the Tribunal instructed

NextEra to "recalculate their damages claim of EUR 398.4 million" in light of the quantum

formulation directed in the Tribunal's Liability Decision and to submit the recalculated amount

"within 10 days of receipt of this Decision." (Id. ¶ 682(iv).) The Tribunal then received

confirmation of the relevant amount from NextEra.

       21.     On May 31, 2019, the Tribunal issued a Final Award requiring Spain to pay

NextEra EUR 290.6 million as damages, plus pre-judgment interest at a rate of 0.234%,

compounded monthly, from June 30, 2016. ICSID Award ¶ 37(2)-(3). The Tribunal further

directed Spain to pay NextEra USD 132,368.86, representing its share of the costs of the

proceeding, USD 4,147,031.81 plus EUR 1,042,135.30 representing part of NextEra's costs of

the ICSID proceedings (including legal fees), and directed that Spain "shall pay [NextEra] post-

judgment interest on the amounts owing under this Award from the date of the Award until date

of payment at the rate of 0.234%, compounded monthly." (Id. ¶ 37(4)-(6).)

                                  LEGAL BASIS FOR RELIEF

       22.     The United States is a Contracting Party to the ICSID Convention. 4 Article 54 of

the ICSID Convention requires the U.S. to "recognize an award rendered pursuant to th[e]


4
       See ICSID Member Database (Nelson Decl. Ex. 4).

                                                  6
       Case 1:19-cv-01618-TSC           Document 1       Filed 06/03/19      Page 8 of 12




Convention as binding and enforce the pecuniary obligations imposed by that award within its

territories as if it were a final judgment of a [U.S.] court." ICSID Convention, art. 54(1). Article

54 further provides that, for Member States (such as the United States) with federal systems,

ICSID awards may be enforced "through its federal courts," in which case an ICSID award shall

be treated "as if it were a final judgment of the courts of a constituent state." Id. Consequently,

the implementing legislation for the ICSID Convention states that "[t]he pecuniary obligations

imposed by [an ICSID award] shall be enforced and shall be given the same full faith and credit

as if the award were a final judgment of a court of general jurisdiction of one of the several

States." 22 U.S.C. § 1650a(a); see also TECO Guat. Holdings, LLC v. Republic of Guat., Civil

Action No. 17-102 (RDM), 2018 WL 4705794, at *2 (D.D.C. Sept. 30, 2018).

       23.     ICSID Convention awards thus "create a right arising under a treaty of the United

States." 22 U.S.C. § 1650a(a).      ICSID Convention awards against a foreign state may be

enforced by plenary actions in U.S. federal district courts if they comply with (i) the FSIA's

personal service, jurisdiction and venue requirements, and (ii) the requirements for commencing

a civil action under the Federal Rules of Civil Procedure. See Micula v. Gov't of Rom., 104 F.

Supp. 3d 42, 49-50 (D.D.C. 2015); see also Mobil Cerro Negro, Ltd. v. Bolivarian Republic of

Venez., 863 F.3d 96, 99-100, 117-20 (2d Cir. 2017).

       24.     The legal standards governing judicial review of arbitration awards are "not

complicated"—they are "limited by design." Duke Energy Int'l Peru Invs. No. 1 Ltd. v. Republic

of Peru, 904 F. Supp. 2d 131, 133 (D.D.C. 2012) (citation omitted). Those standards are even

narrower for awards issued pursuant to the ICSID Convention, which are not open to any

collateral attack during enforcement proceedings. Courts may only "examine the judgment's

authenticity and enforce [its] obligations." TECO, 2018 WL 4705794, at *2 (citation omitted).



                                                 7
       Case 1:19-cv-01618-TSC           Document 1       Filed 06/03/19     Page 9 of 12




They cannot examine its "merits, its compliance with international law, or the ICSID tribunal's

jurisdiction to render the award." Mobil Cerro Negro, 863 F.3d at 102; accord OI European

Grp., 2019 WL 2185040, at *7. Courts are expected to "treat the award[s] as final," Mobil Cerro

Negro, 863 F.3d at 102, and award-debtors cannot "make substantive challenges to the award" in

enforcement proceedings. Id. at 118. Furthermore, the FAA and its various defenses do not

apply to ICSID award enforcement. See Tidewater Inv. SRL v. Bolivarian Republic of Venez.,

Civil Action No. 17-1457 (TJK), 2018 WL 6605633, at *1 (D.D.C. Dec. 17, 2018). Thus, Spain

cannot collaterally attack the Award or Liability Decision during these proceedings.

       25.     Additionally, Spain may not claim sovereign immunity under the FSIA. The

FSIA creates "a comprehensive set of legal standards governing claims of immunity in every

civil action against a foreign state." Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. 480, 488

(1983). The standards include "a set of enumerated exceptions" to state immunity, "including,

such as here, when a case is brought to 'confirm an award made pursuant to . . . an agreement to

arbitrate' and the award is 'governed by a treaty or other international agreement in force for the

United States calling for the recognition and enforcement of arbitral awards.'" Tidewater, 2018

WL 6605633, at *4 (alteration in original) (quoting 28 U.S.C. § 1605(a)(6)). The Award fits this

FSIA exception, and Spain cannot escape enforcement here.

       26.     Spain has also waived its foreign sovereign immunity in this action by acceding to

the ICSID Convention. See 28 U.S.C. § 1605(a)(1) (a foreign state is not immune from suit in

U.S. courts where it has "waived its immunity either explicitly or by implication"). As a party to

the ICSID Convention, Spain has agreed to abide by and comply with all awards against it, and

enforce award obligations as if they were final judgments of Spanish courts. ICSID Convention,

arts. 53(1); 54(1). That very agreement necessarily contemplates "enforcement actions in other



                                                8
       Case 1:19-cv-01618-TSC          Document 1        Filed 06/03/19     Page 10 of 12




[Contracting] States," Blue Ridge Invs., 735 F.3d at 84 (alteration in original) (citation omitted),

and dispenses with any claim of sovereign immunity.

                    CAUSE OF ACTION AND REQUEST FOR RELIEF

       27.     Under federal statute, the Award is to be given "the same full faith and credit

as . . . a final judgment" issued by a state court. 22 U.S.C. § 1650a(a); TECO, 2018 WL

4705794, at *2. NextEra may therefore enforce the Award's pecuniary obligations against Spain.

Accordingly, NextEra requests that this Court issue an order: (i) recognizing and confirming the

Award, and (ii) entering judgment in NextEra's favor thereupon.

       28.     NextEra requests that the Court enter judgment in the currencies specified in the

award, including Euros. See ICSID Award ¶ 37. This Court has authority to enter judgment in a

foreign currency when requested by the judgment creditor. See Leidos, Inc. v. Hellenic Republic,

881 F.3d 213, 218 (D.C. Cir. 2018) ("Recent cases have endorsed judgment in a foreign currency

if the petitioner requests payment in that currency."); accord Restatement (Third) of the Foreign

Relations Law of the United States § 823 cmt. b (Am. Law Inst. 1987) ("[T]here is no

impediment to issuance by a court in the United States of a judgment denominated in a foreign

currency.").

       29.     Once judgment is entered by the court confirming the Award, the proper rate of

interest is that prescribed by 28 U.S.C. § 1961. See OI European Grp., 2019 WL 2185040, at *8

(construing ICSID implementing legislation, and the requirement of full faith and credit, as

meaning that 28 U.S.C. § 1961 "should apply" as the basis for post-judgment interest, once an

ICSID award is confirmed).




                                                 9
        Case 1:19-cv-01618-TSC          Document 1     Filed 06/03/19     Page 11 of 12




        WHEREFORE, Petitioners request that the Court enter an order:

                (i)     enforcing the Award against Spain in the same manner as a final judgment

issued by a court of one of the several states;

                (ii)    entering judgment thereupon against Spain and in NextEra's favor in the

amounts of (a) EUR 290,600,000, plus interest at the rate of 0.234%, compounded monthly, from

June 30, 2016 to the date of judgment; (b) USD 4,279,400.67, plus interest at the rate of 0.234%,

compounded monthly, from May 31, 2019 to the date of judgment; and (c) EUR 1,042,135.30,

plus interest at the rate of 0.234%, compounded monthly, from May 31, 2019 to the date of

judgment; and

                (iii)   awarding post-judgment interest at the rate applicable under 28 U.S.C. §

1961.

June 3, 2019                       By: /s/ Jennifer L. Spaziano
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                                                  10
Case 1:19-cv-01618-TSC   Document 1       Filed 06/03/19     Page 12 of 12




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                                  11
